                                                                                                               i - 'i ';
    Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 1 of 13 Page
                                                                 aER~. u~ ! ~ID   #:4384
                                                                              , ~T~,cT cour~r

                                     UNITED STATES DISTRICT COURT                                         Jl1L 2 8 2020
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                               CENTRAL DISTRICT OF CALiFORNIg I
                                                                                               FAY      n /1          D~f'UlY
                                     NOTICE OF DOCUMENT DISCREPANCIES

To: LAG U.S. District Judge / ❑ U.S. Magistrate Judge Virginia A. Phillips
From: Christine Chung                                     ,Deputy Clerk             Date Received: 07/20/2020

Case No.: EDCR 12-00057-VAP-2                     Case Title: U.S.A. -V- [2] Samuel Rogers

Document Entitled: Motion for Compassionate Release Pursuant to 18 U.S.C. Section 3582(c)(1)(A, First Step Act of 2018


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

              ❑ Local Rule 5-4.1        Documents must be filed electronically
              ❑ Local Rule 6-1          Written notice of motion lacking or timeliness of notice incorrect
              ❑ Local Rule 7-19.1        Notice to other parties of ex parte application lacking
              ❑ Local Rule 7.1-1         No Certification of Interested Parties and/or no copies
              ❑ Local Rule 11-3.1        Document not legible
              ❑ Local Rule 11-3.8        Lacking name, address, phone,facsimile numbers,and e-mail address
              ❑ Local Rule 11-4.1        No copy provided for judge
              ❑ Local Rule 11-6          Memorandum/brief exceeds 25 pages
              ❑ Local Rule 11-8          Memorandum/brief exceeding 10 pages shall contain table of contents
              ❑ Local Rule 15-1          Proposed amended pleading not under separate cover
              O Local Rule 16-7          Pretrial conference order not signed by all counsel
              ❑ Local Rule 19-1          Complaint/Petition includes more than 10 Does or fictitiously named parties
              ❑ Local Rule 56-1          Statement of uncontroverted facts and/or proposed judgment lacking
              ❑ Local Rule 56-2          Statement of genuine disputes of material fact lacking
              ❑ Local Rule 83-2.5        No letters to the judge
              ~ Fed. R. Civ. P. 5   No proof of service attached to documents)
              m Other: Document is not signed. Local Rule 11-1, all documents must be signed.



  Please refer to the Court's website at www.cacd.uscourts.gov for Local Rules, General Orders,and applicable forms.


                                    ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

❑ The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  "received but not filed" with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


     Date                                                   U.S. District Judge / U.S. Magistrate Judge

L The document is NOT to be filed, but instead REJECTED, and is ORDERED returned to counsel.* Counsel* shall
'~
~ immediately notify, in writing, all parties previously served with the attached documents that said documents have not
   bpi filed wit  e C~^r~                                ~/~,~J
    J
    ~ ~%►-              !N                                    v
    Date                                                   U.S. District Judge / iT:~ '"_~:~`_"'~'..au"
                                                                                         0
* The term "counsel" as used herein also includes any pro se party. See Local Rule 1-3.
        COPY 1 -ORIGINAL-OFFICE      COPY 2 -JUDGE      COPY 3 -SIGNED & RETURNED TO FILER         COPY 4 -FILER RECEIPT

CV-104A (06/13)                           NOTICE OF DOCUMENT DISCREPANCIES
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 2 of 13 Page ID #:4385




        ~N I~~i~ 5 TOTES D~5~"C ~~-~ ~ '~.,Ov~~~ ~uP~                                                                          _~~~C



                                                                                CASE ~;'v: 3",r~z - cc- ~;c;v ~ ?-V~~--3




              ~.

                                   f~~~~~~v~,~~~fi~




                                   r_                                                          .p
   ..C~,rr~''t..`J      v')pl(:~   ~Cv/v~v~rL.~~        ~Oc~`L.CS         '~C C~i ~J`Z.'          Cu`~ ~;,~~     '~C'    Y'Yl~%~t Z ~l~J
                                                                                           }    1

   .: ~~ o s~ ~;G v,~o\~~- .~:.-~-             '~G       bu-~~~         ~~~1s~ c~~.a           ~.v~d     aJc~:.~~.-t- ~-t-tn~      ~~~~ r~~~rt'

   .:Y~'~(~ -t~~i V l    ~1~~      O~    G(7 ~~'~ ~~1~ `_ ~U✓1C1JC~L         ~~z..~~LU~rJCi       ~Q ~,••~~j~'.C~.~(1~    ~_      1Q
                                                                                                   t

   ..111.S . C ~ 33B ~ ~~~ ~ t~ L ~k) ~5 ~~~~~.~1d~Ec~ ~oY --E{,~~ ~~~c~~~~-,-~ ~: n-~
   .~Sc       ~1h 4, ~^~CS-~ 5-~C~~                  c:~ Cr`-t     ~~ ~ c~0 l ~ ~ ~oC            ~.~5 L̀v,,~_~-~`;

   .. ~L7~\ ,c~~~~c:'~eU~~              ,~J`G~lrtlG~"~1 `z~        ~~~✓►'~~J ~~/           ~~-.~cvi,~S            ~~~ Cc~,\OL~.~~1~ •



   J_                              ~ ~ I ~4T___~1~_~ ~_ e C~ ~A CT
        OVt     u~c~~ ~~ j 3~oI`~ ~n~ i-~~n~.~Cti~o1~ Cav~ct S~v~-~~V~c~~                                                      w~~uG,v~-~
 'rp !i, ~~C~ v ''C                      d vn ~ C.`.~ U v"1 ~'l~J\-~          ~~                  vr'r i~ v"l~~~~ S     ~Q'C


        ~o~n5~~~~~C~ "~"~                ~+nc~ti~~.         ~V~     5£X ~~c.~~i~\L~✓~c~ ~~~n                          l~iV\c.'t~~~~
                                                                                                J
    _ d~       1~ ~'l ~ S ~ C ; l ~ `'1 ~f Cc)                   ~ v1    ~~~~         ~ (~ ~ dG'~ t>              r✓t U u~;v~-t
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 3 of 13 Page ID #:4386




                                                                                                         ~,

        o.G~~         tv~      -t-~nf. ~~v~d`'~~n-'~~   ~m11\\1ocX     ~s~~     ~v,~MC~-~C£.    C~.~~._~ ~-~


   :.~Dt~P'l        C~~JI.OI(C:.-.`~C.~      "~D   ~~~ L<_~~,_<0~~~        pt      -~Xl`z. 1V15~~~~~'~~~ ~




    .L,~,s b~~:,,~, ~o~~~. c~~-.~,~n~ ~~~~~ -~t-,~, cJ~;~~d~u~ .A,pp~dx;~~-~~,iy




                      ~,               \,                                                                       ;~
    .d1,~ti~s               Ain ~l ~        Tim ~st, c~c~, v~c;-~' v~ccwio~~ ~~ ~m~,s _ ~~~

                   a ~ i\
   ., e~~u, LL~~                              - ~n:~ ;s ~~y►d. o~ yon , 10~,.~
                                 ~~c~ ~~~~ z~ '
    . ~c-~w~~.vv~~~.~ ti -t ..~ 5 ~od~~\\ Y 1~ a~d o ~n ~~~c ~ ~~n ~, ~r r ~ -t-~.0 ~
   : .G~~C.       ~x~~~~G~~~~~v~C.~v,~             vv~av~y c~      -~n~,    ~~v~v~~    ~~~~~~,c~`~               ciS
                                                                                        ~~     J
     Y vU. ~ yov~~c ~~~~,\y ~ r~s ~~ ~ (C a s                              ~n y sg.l~' , ~ 5 ~~ ~IJC~t~c-1~~ ~ d,


              J


     \S       ~~ L~         ~ Z.U~ Ci.1~     ~G~~       ~~ a `J    LD✓\A:\~l ~V~      ~~~L`zv            ~/1~~ ✓~'\    1 ✓~1

                                                                                               -- j C~
   .. ` ~L~?~ ~'~~~y          P~~    ~0`La f\~     ~~`\~CCJ1   ~,1~I   t1/1 ~    ~~ ~~,~ ~kJ                 V 1 C~5 \T
                                                                   1

   .. ~v~~C4.C~t~.~ 5 ~S ►t ,~~v,~~5                       w1Lvc~v~~ :✓~             ~n,c~~        ~:`~~              c~

   .. c~~~,~w-~~~c~ ~0.~\~.c~,
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 4 of 13 Page ID #:4387




                                                                                                   c~ .

                       ~k/' ~l~ A(Z~~i~ n~~ nl T

   .~,~~~ws ~,~~~~,~.~-~s -- ~s oQeo~~. to o~,~y -~~,~ ~~~
    :'tD   ~O ~ ~ v~~   v~ o~ ~ O ~r1 ~      ~~%~      ~~~~~tO ~1         6~C     m ~ vt'~v~ C~~. ~~~v~C~l.`c_C
                                                                                ca?

   .:/~ ~1 ~~ ~C , 3~v ~ Cc~ C ~} t~k J o l~c~--~                    G ~c~v~~~~, '.v. ~cti~
    . P ~~.c:~,~ ~--~~,-t~~c~. -~~ti~~ ~~-~c C ~v.-~ w~u t~ U v~ b ~.F~%c~~ ~1,-.~, (s~c-~
   ;:~ ~ s~.~--tv~n --t►-t\~.~; ~~.,cc~~5, ~t~ t~.~ l~.s~. ~,,,d -Er~,~,~P~~r.~1'
                                             ~~`'-

                                                   ,,                                    1
    :6 Y   CvY'1 P G~~ S ~~ c;~~~-~4,     ~°L1~~ ~           ~In~    ~~ C S ~   ~'t~ ~   Q~~'      G~w►'~C.v~OI`zG~




     ~'j~ ~ ~,.-~-~ cam.\sv ~+~e,n                    w, ~ ~~ Urn eF ~~. ~,~~~.,,,d~v~~ o.~~~S



   ..-(-o b~►~nc~ ~. ~~-~~o~ ~~n -~~ c~.~~~.~d~~•} S bLti,~~,~c `r oc ~~,
   . .1~~.~s~, o~ 3d days ~~~ w. -~~,~, c~.~~~,~-~ ~~ s~,~~,,

   . X03 Cb~ , I3~ s-r~~t. ~-t- ~a~ ~ C~~d►~~£~ ctf ~~ c~~s~~, 3~
     ~Gj L c ~ L ~4 ~ , ~ , ~ G~~~~ w~a~ ✓~c~,~                       rvt ~c;~;~ ~ cE~ ~~;~n~~v~~t5

         (~                                             ~~   r                           /~ ~           1
    D~, ~C~.V~ ~G~v1~S
                  rr
                            1i1~1C~~1 O~'1    ~A~            CX{~(~ C~~~~ ✓~G.~C~/ Gv~ ~ W r'~'~ ~J `L
                                                                                                       11,
                                                                                                          ✓~~
                                                                              ~\~




                                                                                                           ,~




     ~-~~,~ 5~d b~L-rw~ ~ 1~~5 ~~~ ~.~t~o~ ~~n s~~~-~~,~~,c~ ~~~:~~~.~f
     fi -fin4. ~~;c~.~0~.~ v~ ~~ d                   ~ ~C'~~ p~~,s~, !~ ► s l~o ~n c: ~q ~j l `~,
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 5 of 13 Page ID #:4388




      ~p~~~ ~,~.y ~-~~-.s: ~~d~~~ -~,~~ --~L~~ ~~ :.gyp<<s~~,~~,-~
   :. C, avid\ vrAy            ~r~~o~L          C.~   't"£.Cv~l      b~C    ~cc~bc~''C~an ~~ ~~~`~v•,5~ c~

   :. ~2-~~c~_S~.       L.J~~~l~n G'C     Lt~`~~'~0~1~        CD~~I,~'~~0~l1S            ~~~"'~       p..G~-~.~   v~G~

   .. ~L XG~.~          ~~n `C.    i.~~`J`Lf ~`[.,A       ~ G ~C"t t(~ ✓1   d~      '~'~~ ~'~ w~ ~~r-~0.~          "~'~ C`M
                                                                                                     v
    . D'~c   Vv'n Q ~'~Su Y~,~.~ ~'.,`~-~" ~ A C~ f..C,    C(;i lk Si!~£.~~ v~q         ~~c~     ~rnG"rUC:>        `J ~-~C
                                                                              J

                                                                                   ,,
   , Give Cov-n(~~ ~,, ► v~G~ r~~Sa4~ S
                                                         ,
                                                         ~ 1i~J~CCc~v~~             Jv.~1.t c~         'C~~~~~ ova
                          .J
   ..~V1~ ~G~~ ~ ~.-G~~                    ~ c~d~/`G't'y`, O K~              \`~    LD`~1.:~~~tej~~v\~            Lv :~~




   . .,~ c~V~~ av~s\~~       ~ cv~~\oJa~~ ~~~~c~/                          5-t~-r~~v~-t `~5                  ~\mac\?~
   .. (~ ~ v1 ~C~o~ ~ ~ C-~ ~C-C~l,     'A `~   ~t~       ~ ~tS `~ ~-~i1P           C/~ e~ 5       avr~~v1C~. w~ ~vi-k5

   _. ~{-0 3 5 ~3 ~ '. ~In ~, ~.v1c.~~~~~ c~ ,~ ~\ ;.~ y 5 -r~~--t~.,r,~~t-~                                o ~ ~~



     V~1,l;--~~i o ✓~   ~o~ ~~, d;~~'~~.-t-Ot^ o ~ ~n~                         ~ G P. ~~ S , ~ ,Cam- ~ r~ ~ . 1
       3 e ~~-t- ~ \Y~-~ 35g a a1lo~.,~5 ~~s Ca`;.~-t -to ~r~~-~ o.
      IM.u~"iD✓1        ~v~ ~~ ~X-tco.occ~~,r~.c'~/ c~v~~                      ~o~v~~~.lt~~~ ~~Sb✓~S i~
    . tt,~~~~, .nn~~t;~~~ 10~ -41~,~. d~c~~fdc o~c ~o~ d~~~~nd.~~~~-'r ,
   .. Ltv ~1~C~         ~~wv      J~tc~.-tv~-t~ v~~'~         ti n     ~o~~~~c-F ~ ~-t i5                   a Xio~na~c~ c~
    "~Q~C          ~Vl`l~   lA~l'~         ~L~G.C."~~G        \'S         z.V~,
                                                                      ~~:Vr        ~ C~'L Ff-~~~'l~' `L..   O\/`




    ~o~a.~~~:, ~c~ - ~~t~. ~~~n~~.~tPc~.-t~-t;o~ o~ ~,mot -~~x~s ~o~~d~ ~
            v
   '1
   ` tn~, {'~~~, ~,.~ ~~::c-~, ~n,a.c~, o~-~Co.:,,~~~~ ~ ~n ~~~ C'~~~~~S ~Cd t'
     C~,~-t~CYY~,~,/\:,n~ CU ti~~~~C~ ~ vt~                     -'C v~~C~S
                                                         ~--~ t~,              ~~Lv~.'"t iV`Z. ~/~n~,~~L
                                                                                                              ~/
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 6 of 13 Page ID #:4389




                                                                                          S.
  . l.~G.S   ~a-~ ~~ la~-t ~~ ~1                D r ~4,'C       c
                                                               De   ~~, v~n~   5~~~~    ~ ~.- ~ C~L~+~C~~.~

  ~-~ -~r.,~, ~.~s~. `'~~~ ~y;~,5 -~~- r~.~~, of ~~.~,~~Y , u.s,~,~.
     1 ~ l .13 G w~-~. Vl. \ C1J~ ~o                 ~o~n~4-~ c~~sc:~~ ~~S              c~v-~


    O1Y10~    ,\`J   ~~~5           inu~~     ~tk~'~        b~c 't~~ 0.~~~~4~~~~t.         ~a~~~C:f




  .(~1 v~~~~~.a ~ -tom.-r~,S , ~{8 3 Vi.S. 35 v , 35~ lo? 5:c-F-. ar3 ~7~ ~ l ~
                                                                                       Y~~L\ N~
                                                                                              r~C.-~Q `LD~
  . .. ✓" ~ ~~ •   ~ V` ~   ~ G a   `~ t   !~ ~)i   L /l(Jls   t   ~~ii   ~G«~~




    m~ I ~ c~ > S ~ ~, 35~~ ~.G~ c ~ ~~ ~ ~ b ~.5~.d o ~ -~.~ --t-~ x-~- ,
  .`J'tG.-t~.tc~~~ In~stoc~ a v~ ~l etcc,.~-~c~s~~ ~~,~. -11~.~5 Co~~.c rS
  _. ~v~ns;~~cc~.-~icv~ a~ ~°d ,r«~~-~.s5's ~b~1~-ty `~~ oV~cci~~ c~v.~~
  . of ~~~ ~ o vim. v~~ 55 0~5 ~ o~\: e~~r 5--~~-r~~V,~~,-~-s ~~~ ~,~y
  --~r~~ vYt~ ~ ~~~ `~~S~r ~-'F~c, 1/~ ll~~-rc c~, v~~:tES ~ ~f~~3 f--t ~~. 3~ J ~ 3l~t ~
    ~ v ~ ~ .C,~. (~ ~t 7, I ~ ~ L ~ Ed . ao~ . ~~ ~f C~~v'8) i 5 --1 ,0.-1- ~;In~~

                                                                                       '°.         ~D~'~C~'C
   ~,v~.G"~~ ova        1J~v~f~~~     '`'~~ ~   ~1v~4..~1Gt.~~        ~
                                                                      : b V ~S i U~1 } ~~~5

   _ ~~n       d,~~~S~.✓~4, w~n~~~c                     ~_x-~r~ c~ c~.~ r~~~Y o~~n d            ~ ~ 11 ~ c y
                                                                                                          J
  . t'~S~~nS `~ c~ ~1n~,c ~~av~ ~~ asp d.~..\~ ~~=~~d                              i~      Vl ~ ~ ~ ~ ~ C~ ,
   t 4\ ~ 13 Cvv~-~. V1 ~ l C,~ )--C~) w~crc~v~-~ ~r~.v~-~~ ~,~ r~<<~F ,
        b ~G~1/t~"    /~.~¢.~~J'     1~~~       ~V U~~ —~~                ~~~. CbCCti1Cs~ vl~v~`j~




     k~~~~~,.s~L of ~~. abuv~. ~~~~c~.~c~~
                                                                               b~~.~~.~,~
   c~,~soc~~~ ~ A ~lNM~~ ~ o.~ca. ~s ~U P ~~-f~~~ wocl~i,~
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 7 of 13 Page ID #:4390




                                                                                                            ~P ~




     l.~~n(7     Ana y o~ ~A y                   env -~fi      ~v ~ ~~t~ vw ~ ~n ~              -~,~ c ~ ~

     J
   :: f~~ 5~~~~n"'~~~ovl            ~v.«~v~~~y ~ av~cx ~~~~~~                           ~~ ~ ~. ~G~~~C,.~z~~~.~~~



   ..a~      1 G~tv~ Cti `C~ • 1   l L~I~AY~'T     ~l I     VY`U l~         ~'ro~>/ S   -\ 1i\ C'~~T    ~l5
                     ~1

     ~G~~1d~v~~t~              ~ «~Lvt~'v          ~~/'~~,5         6 \b~(7~~~Q~~          WV\~             l~t~'l~`~   ~~
   `~                                    1          y                  `                         /r
         X"~'~GC7 ~C~~ /~CJ~~~'~/ O.V~ l~'~             O V'v~ ~J ~..~,\~       Cf.!✓~~(j✓l`J          L~    t(1 t~S

   . ~z~~(~      ~ ~-t'~ tr ~~~~'C      P «S~~U ~.              1n ~ U         <- ~c~ ay.d. ~~.~.~~'C~,~ ~ b'~

   . Ol~(~~hV~~'C;~ ,fl%,~ ,.t1i~.5 ~`tiV\ .~~~~p~'
                                           G                      W1L`~ld~`1        ~c~C ~s ~U~nnPo~Jlo✓~a~~
      ~                 .~


                                                                ~Tz5 ~5~ P ~~a~~~~
                                                                             —
                                                                             r ~,~ ~ ~l.Qy




   _ . 'I / LbUC1~n-`~    ,~JG~`,-~~~i~~y        ~,V~~C'~            ~nc~-~        -~~~~. ~oC~oi,~ G '~5
                                                                                                   ~I
     ~~~~ ate,d. ~~ cc~-t -~-c -tt~~~ b ~~~~t e ~ w~.~~~,~-~~
      Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 8 of 13 Page
                                                                        -- ID #:4391"f~
 BP -5148.055 INMATE REQUEST TO STAFF          CDFRM                        '~~~~~" ~ ~
 SEP 98
 U.S. DEPARTMENT OF JUSTICE                                         FEDERAL BUREAU OF PRISONS



  TO:(Name and Title of Staff Member)              DATE:


  FROM:                                            REGISTER NO.:



  WORK ASSIGNMENT:           ~—~                   UNIT:



 SUBJECT: (Briefly state your question or concern and the solution you are requesting.
 Continue on back, if necessary. Your failure to be specific may result in no action being
 taken. If necessary, you will be interviewed in order to successfully respond to your
 request.)


                                                                                                    ~1




                                   (Do not write below this line)


  DISPOSITION:




          Signature Staff Member                 I Date



 Record Copy - File; Copy - Inmate                     This form replaces BP-148.070 dated Oct 86
 (This form may be replicated via WP)                  and BP -S148.070 APR 94

G
Is
'
i~i
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 9 of 13 Page ID #:4392


  ,;~
   ~~~\;                                      U.S. Department of Justice
                                                                           ~~ H,~~~T
                                                                                  ~;t
   ~f        \
  ~
  ,         ~°                                Federal Bureau of Prisons
            %'




 Ojfia of the Director                        Warhirtgron, DC 20534



                                              April 8, 2020




 MEMORANDUM FOR THE" INMATE POPULATION

                          M
 FROM:                   M.D. Cary   al, Director

 SUBJECT:                COVID-19 Pandemic


 I would rather be able to address you directly, however, that is not
 practical at this time. Instead, I am writing this letter to tell
 you what we are doing as an agency to safeguard your health during
 the COVID-19 pandemic. I want to thank each of you for your
 understanding and cooperation as we diligently work to try and
 prevent the introduction of coronavirus in our facilities and to stop
 the spread of it in the facilities that have already been affected.
 It is critically important that each and every one of us take this
 seriously - together we will all get through this.

 Let me share some information with you and dispel any rumors you may
 have heard. Despite the planning and preparations that has been
 ongoing _since January 2020, and the implementation of the first three
 phases .of .our COVID-19 Action Plan,- the BOP had its first positive
 inmate case on March 21, 2020, and the f-first positive staff case the
 very .next day. Unfortunately, I am also saddened to report, as of
 today, we have had eight COVID-19•inmate-related deaths. On
 March 26,-2020, we implemented Phase 4 requiring all individuals
 entering our facilities, including staff, be screened and
 temperature checked. This was a critical step to ensure we reduce
 the risk of introducing and spreading the virus inside our
 facilities.

 The Executive Staff and I have made decisions that directly impact
 each of you. No decision, regardless of how large or small, is taken
 lightly or done without considerable thought. Stopping social
 visits has a major impact on you and your loved ones. But, by doing
 so we are keeping you, your family, and the community safe. We
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 10 of 13 Page ID #:4393




    increased your monthly phone minutes to help compensate for the lack
    of visits and by Thursday, April 9, 2020, telephone calls will be
    free to you for the duration of this emergency (please note, however,
    collect calls will still be charged to the receiving phone number).
    We recognize how important it is for you to keep in touch with your
    families, especially at this time. They need to know how you are
    doing and you need to know how the virus is affecting them.

    Access to legal counsel remains a paramount requirement but, like
    social visiting, the BOP is reducing the risk of exposure created
    by external visitors. As such, while in general, legal visits will
    be suspended for 30 days, case-by-case accommodation will be
    accomplished at the local level and confidential legal calls will
    be allowed in order to ensure inmates maintain access to counsel.
    Limiting facility-to-facility transfers, and other inmate movement,
    as well as implementing screening and quarantine and isolation
    procedures, have been essential to slowing the spread of the virus.
    The nationwide modified operations implemented to maximize social
    distancing and limit group gatherings, such as staggering meal times
    and recreation, have also been helpful. However, the growing number
    of quarantine and isolation cases in our facilities indicates we need
    to do more.

    Accordingly, on April 1, 2020, another decision was made that
    directly impacts you. For a 14-day period, inmates in every
    institution have been secured in their assigned cells/quarters to
    decrease the spread of the virus. Again, we did not make this
    decision lightly, and I know this can be frustrating for all of you.
    But just like in communities nationwide who have been required to
    shelter in place, we feel the safest course to prevent the spread
    of the virus and keep you healthy is to have you shelter in place
    as well. After 14 days, this. decision will be reevaluated and a
-   determination will be made as to whether or not to return to modified
    operations.

     All of our efforts are toward one goal -- keeping everyone in our
    _prisons, both staff and inmates, safe. We are still in the early
     stages of this virus; it is not even near the peak in the United
     States. With that said, I need your continued patience,
     understanding, and cooperation. I need you to communicate with
     staff openly and honestly, We need to know how you are feeling -
     both physically by telling staff if you are feeling sick, coughing
     or running a fever, and mentally, if you are anxious or scared.

    I am also asking that you keep yourselves and your areas as clean
    as possible. On April 4, 2020, the CDC issued updated guidance
    encouraging all persons to use masks in public, as such, masks have
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 11 of 13 Page ID #:4394




  been issued to you. There are universal precautions that we must
  all follow - we are sharing many of the same areas. Please remember
  to always:

       • Wash your hands, especially after touching any frequently used
         item or surface.
       • Avoid touching your face.
       • Sneeze or cough into a tissue and wash your hands thereafter,
         or use the inside of your elbow.
       • Observe social distancing as much as practical in our
         environment.

  These are not normal times. Our world is much different than it was
  a month ago. We recognize this is hard on you, but remember it is
  equally hard on everyone. Staff are experiencing many of the same
  feelings as you, your family, as well as myself.

  I want to close by personally telling you that your cooperation has
  made a difference during this difficult time. Please continue to
  be patient and understanding. Wash your hands frequently, cover
  your coughs and sneezes, and avoid touching your face. Maintain an
  appropriate social distance as often as you can. And, equally as
  important, communicate with the staff about how you are feeling, ask
  questions, and share your concerns. This pandemic is a global
  emergency and the BOP is taking proactive operational. measures to
  safeguard each of you that are entrusted to our care and custody.
  I am committed to doing everything I can to help keep all of you
  healthy and safe.
                                                    _.-...~- _          .. ,..       ~       --         _                                   x :.        _
                                                                           -                                   - - --                                                                     r
~•          ..                                    e: :. .. ..      :••:: is                           i::t:
                 ~   /~                                                       ire ~ieii ie?' ! ~
        y                                   iF:is~S:?i:ii::i~:?i'E~Eiiiii!                 _
                                                                            ?iii:iF i?iiii~e~°i
                                            '::•.     .••.;•...iii                              i i ° i:!S:i             ✓"   .'r                                                         Y
                                                                       e ii iie ii i i    i ii i~ilei i                 ~.                                                r
                                                                                                                                                                1.




     C.~r~~                   ~~~i~~ t li ~l{ii l~Ili t E s ~~i~ ~ , ~i i ~~I ~i ~~I~~~~ li~~l~~'3t~lil~                 i          ~                                         I ,. ,
                          -            Y~~~ 'a'd'
                                                    ~i1e      }-     ~ ,~
                                                                                               ;~r
                                                                        x        ~   ,~~
                                                                                                                                                                                                          Y
                                                                                                                        S ~, ~fi ~      ~          ,~       -
                                                                                                                                                                                                      -




                                                                                                                                                                                              L.
                                                                                                                                                                                       ~ ~ ~JTF ~  ~~ TRiCT uF CALF:
                                                                                                                                                                                       L':_~>
                                                                                                                                                                                            ~ ____             PY D




                              ~,                                                                                                                                     -~
                             ~                                                                                                                ~~~~;c~.~~~~~ ~ ~ ~~~~~~~~ s~~~ ~                   ~~~0
                           ~~ ~~
                          ~    ~
                                                                                                                                                                                                              Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 12 of 13 Page ID #:4395
Case 5:12-cr-00057-VAP Document 566 Filed 07/28/20 Page 13 of 13 Page ID #:4396




                                                                                                    FBaBRAL CORRF,CTION Al,COMPLFJC
                                                                                                             P.O. BOX Sfif~b
                                                                                                         L1Z00 CITY,MS 39194
                                                                                               '~16                LETI'F.R WAS PRO'CF.SSED
                                                                                               ON                  THROUGH SPACIAL
                                                                                               NAII.II~KiP~17RE3.
                                                                                  ~:;t= , :.      TMt1Wl~rtirtd~erbeee opened or inspaKed if
                                                                                          r.   1 16~ vriksta'sssq¢eetion ar problem over which
                                                                                               ', his~a'~1ry brjmisdicdao, you msy w;ah a
                                                                                                  Teeua9u a~ah~isl fm further inforniation1~
                                                                                                  clarificatiai• 1fthe writer encloses
                                                                                                 correspondence for forwarding W at►oH~e[
                                                                                               I addressee, please return the enclosle'e io IYO ~bo110
                                                                                               ~ address.
                                                                                                                                                         ,-
